                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                                     Court Minutes and Order
HEARING DATE:  December 9, 2020
JUDGE:         Brett H. Ludwig
CASE NO.:      20-cv-01785-BHL
CASE NAME:     Trump v. The Wisconsin Elections Commission et al
MATTER:        Final Pretrial Conference
APPEARANCES:   William Bock, III, Attorney for Plaintiff Donald J Trump
               Corey F Finkelmeyer, Attorneys for Defendants The Wisconsin Elections
               Commission, Commissioner Ann S Jacobs, Commissioner Dean Knudson,
               Commissioner Marge Bostelmann, Mark L Thomsen, Robert F Spindell,
               Jr, and Douglas J La Follette
               Jeffrey A Mandell, Attorneys for Defendant Governor Tony Evers
               Andrew A Jones, Attorney for Defendants George L Christenson and
               Julietta Henry
               James M Carroll and Tyrone Martin St Junior, II, Attorneys for
               Defendants Claire Woodall-Vogg, Mayor Tom Barrett, and Jim Owczarski
               Dixon R Gahnz, Attorney for Defendants Kris Teske, Eric Genrich, Mayor
               Cory Mason, Tara Coolidge, Mayor John Antaramian and Matt Krauter
               Michael P May, Attorney for Defendants Mayor Satya Rhodes-Conway,
               Maribeth Witzel-Behl, and Scott McDonell
               Jon Greenbaum, Attorney for Proposed Intervenor-Defendants Wisconsin
               State Conference NAACP, Dorothy Harrell, Wendell J. Harris, Sr., and
               Earnestine Moss
               Charles G Curtis, Jr, Attorneys for Proposed Intervenor-Defendant
               Democratic National Committee
TIME:          3:09 p.m. – 4:04 p.m.
COURT REPORTER:        Thomas M.
COURTROOM DEPUTY: Melissa P.


         The Court held a final prehearing conference to discuss the procedures for Thursday’s
Zoom hearing and to address pending issues. The Court encouraged defense counsel to
coordinate their strategies and work together to have a fair, streamlined, and efficient hearing.
Counsel for the plaintiff explained plaintiff’s claims in more detail, agreeing that his claims were
based solely on the Electors Clause and the Equal Protection Clause. Counsel also discussed his
requests for declaratory relief and a request for injunctive relief against defendant Governor
Evers.
         The Court took the motions to quash, ECF Nos. 62, 68, and 79, and the motion in limine,
ECF No. 114, under advisement, and strongly encouraged the parties to confer and agree on a set



          Case 2:20-cv-01785-BHL Filed 12/09/20 Page 1 of 2 Document 122
of undisputed facts. Counsel for defendant Governor Evers made an oral motion in limine to
exclude the declarations of persons submitted by plaintiff who were not also listed on plaintiff’s
timely-filed witness list. The Court took the oral motion under advisement. The Court granted
plaintiff’s motion to file an oversized brief.

       IT IS HEREBY ORDERED:

   1. Plaintiff’s motion for leave to file excess pages, ECF No. 110, is GRANTED.

   2. The parties may file replies to their motions to dismiss by 9:00 p.m. on Wednesday,
       December 9, 2020.

   3. The parties shall meet and confer to discuss a potential stipulation of facts and an exhibit
       list to be used for each witness before the final hearing. A report of the conference must
       be filed by 8:30 a.m. on Thursday, December 10, 2020.

       Dated at Milwaukee, Wisconsin on December 9, 2020.

                                                      s/ Brett H. Ludwig
                                                      BRETT H. LUDWIG
                                                      United States District Judge




         Case 2:20-cv-01785-BHL Filed 12/09/20 Page 2 of 2 Document 122
